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                          UNITED STATEjDISTRICT COURT
                          soul'
                              c> DISTRICTOFFLODA
                   CA SE N O .:24-20008-CR-W R LTAM S/G 0 OD M A N
                                                                               SCALEZ
  UN ITED STATES 0F AM ERICA
                                                        FILED BY     /
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  M ICI-TAEE XART,GEU-ENR I-D,                               FE8 ê7 2221   -

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               oefkndant.                                    i.x:
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          APPEA L FR OM TH E M AGISTRATE JU D GE'S ORDER D EN YW G
           THE GON RNM ENT'SM OTION FOR PRE-W TAT,DETENTION
        TheUnited StatesofAm ericarespectfully appealsthemagistatejudge'sFebl'uary 1,
  2024,order denying the governm ent's requestfor pretrialdetention and p anting M ichael

  G eilenfeld'srequestforabond.BecauseG eilenfeld isboth arisk (?fflightand adangçrto the

  communityandanotherperson,themagislatejudge'sordershouldberevokedbythisCourt,
  and thisCourtshould ordertheD efendantbe detained pending trial.

    1. BAckGRouxo
            a. Chr ges

        On January 18,2024,a vandjurysittingin theSouthern DistictofFloridareturned
  an indicM entagainstthe D efendant,charging him w ith one countofTraveling in Foreir

  Com rnvrcew 1:11thePurpose ofEngaging in lllicitSexualConduct,in violauon of18 U .S.C.

  j242309. SeeD.Colo.dase No.24-mj-00012 (ECF No.1)1. The chargesstem from
  G eilenfeld'syears'long sexualabuse ofm uléple m inorboys entrusted to lliscare atthe St.



  1The D efendant's detention hearing occurrçd in the D istict of Colorado because he was
  acested in Cdlorado. See D.Colo.Case No.i4-mj-00012 ('
                                                       ECF Nos.1,10, 11,15)1.
  A ccordingly,allcitationsto docketenliesreferto theD iskictofColorado casenùm ber.
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â




         Joseph'sH om e forBoys,an orphanagethayheran in Port-au-prince,H aid. SeeJW#u2-7.   .




                    h. Arrest,InitialAppearance,andM otion forDetendon
                TheD efendantw assubsequently arrested in iheD istictt)fColorado on January 20,

         2024,andhadaninitial.appearqncebefoream agislatejudgeon January22,2024.See(ECF.
         N os.1,2,4).Thegovernm entsoughttohavetheDefendantdeyaihedpriortotrialasboth a
         risk of flight and a danger to the com m unity and another person under tlu'ee stam tory

         grounds:(1)Geilenfeldwaschargéd.wi
                                         . th.afelony thatisnotothelw isea crim eofviolence
         thatinvolves a minorvictim pursuant to j 3142(9(1)(9 ;(2) there is a serious risk that
         Geilenfeldwillfleepursuanttoj3142(9(2)(A);and (3)thereisaseriousrisk thatQeilenfeld
         willobs% ctorattemptto obstrud justice,orthreaten,injuye,printimidate,a prospective
         witnessesin the casepursuantto j 3142(9(2)1 ). Btcause Geilerlfeld wascharged w1:11a
         crim e involving a m inorvictim gthere isa rebuttablepresum ption thattheD efçpdantisboth
                                                                                         .




         arisk offlightandadangerto thecommpnity. See18U.S.C.j3142(e)(3)(E).
            .                                 .
                                                  Q



                    è. D etention H earlngz

                OnJanuary25,2024,themagistratejudgecomm encedGéilenfeld'sdetentiophearing.
                    .                                 '                              .



         (ECF No.10).H owevef,shortlyaftertheheariqgbegan,Geilenfeldadvisedthecourtthathe
         needed ar
                 dditional tim e to speak to his counsel. 1d. Based '
                                                                    on G eilenfeld's request, the

         magiïtratejudge continued thehearingtothefollowingday.f#. On January26,2024,the
         detentionV aringresumed.(ECFNo.11).Duringtlw hearing,thegovernmentproFeredthe
                                      '
                    .                     /                 '   '   '           '   .
         follow ing factsto the court:3



         2The governm enthàs ordered the transcqiptsofthe hearingsin .
                                                                     thiscase and willflle them
                          l    .            ,           '                        .
     '
         upon receipt.                                                                       '
         3See(ECF No.14 at11-15)(Appepdix to Governmeht,s PostrHearing M em orandum in
         SupportofM odon forDetendon andOp'
                                          pojitiontoDefendant'sV otion forReleasç).
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                      For nearly allllis adult life,the Defendanthas had extensive

         connections to foteign countries,holding him jelf outas a m issionary while
                                          .




        using hispositioq and privilege to sexually abuse youngboysand coverup his
                                                               .




        c'
         rim es. Betweçq the m id-1980's and continuing until roughly 2014, the

        Defendant,aU.S.citizen,operatedmultipleorphanagesinV aiti,includingthe
        St.Joseph'sHom eforBoys. Themajority oftheresidentswereyoung boys
        who endured exlem e poverty and qam e from fam ilies w ho had çither

        abaadoned them orcould no longercareforthem .

                      A n investigation by H SIand thçFBIhasrevealed that,between

        at leastN ovember 2006 and December 2010 (i.e.,the tim e period in the
        indictment),the Defendanttayeled to Haié forthe purpose ofengaging in
        illicitsexualconduct,taveling from M iam iInternationalAirportto Port-au-

        Prince H ai; approxim ately 14 tim es.

                      D vring that tim e period, Geilenfeld engaged in illicit sexual
                                      .




        conductwith nup erousm inorboyswho resided atthe St.Joseph'sH om efor

        Boys. For exam/le, Victiin 1, Victim 2, Vicfim 3, and Vicfim 4 (dfthe
                                              .
                                                                   '



        Victims''l- whèarepurposedlyreferencedonlygenericaliyattllishearing,to
        protecttheirprivacyconsistentwith 18U .S.C.jj3509(d)and3771andbecause
        ofdoncerns w1:11victim intimidation- collectively resided atjt.Joseph's
        H om e for Boys between 2006 and 2010. The Victim s w ere be> eçn

        approxim ately 9 apd 13 years ofage,and reported to 1aw enforcem entthat

        Gey.jenfeld sexually assaulted them in num erous ways, including ànal
        penet ation, attem pted anal penet ation, and forcible penet ation of their



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        m outh with his penisi.that G eilenfçld wnrnçd them not to disclose what
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        happened'
                ,thatGçilenfèldçFeredmôneyandother'
                                                  beneftsiftheminorswould
        çngagein svxualacdvityw tth hi'm ,.andthatGekçrjfeldthreàtenedthem ifthey
                                                               w




         didnotdoasGeitenfeldinstfucted.
                                                                                                       '                                   '                                    '


                                     In additiop to thevictim scontem plàsed in the indictm ent'stim e

        period,numvrous othef'inaividuals have rçpnrted that thçy were sexuany                                                                                        .




         abttsedby G eileilfeld,in thç 1980s,1990s,and2000s.Law enförcem entduiing
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        pfthe ciyildefam afiop suit
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                                   ! includingbutnotlimitedtoVicsim s1-4),andthey
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        proyided extensivç details abouttheirèbeiné sexually abused by G eilenfeld.                                            .




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                     allthe victim satisspe in '
                                               the.cikilkialtesfified p.tthatkial,so

        the jury therç d1d not have aceess to the
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         G ovenbm enthasahd intendsp presentin thiscase.
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                                     M ultlfle victH s and potentia.lwimesses.have reported being
         threatened an
                     'd tetaliated aaainstafterreportinnbeilm abusedbv G eilenfeld cir
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         afterbejng suspeçtedby Geileflfeld ofnotbeing Joyalto him ,?.
                                                                     sw éllashaving
        receivedpyymentsfrom Gèilenfçldiizordertomaintain their.silence.
                     6.          .
                                     The inyçstigation also revealed that Geilenfeld l
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         Sqrm tm ded him sçlfwiih otherindividttalswho w ere a lm own and suspected
                                                       .                                   .




  4.t
    n 2015,Gçilepfeldinitiated adefamation lawsuitagainstPaulKendrick,achildren'srights
                                         .7                                                                    '               '                                                        '

  adyôcatv. Seegeneèally D..M e.CaseN o.13rcw000j9.A jufyremnwd ajudpnenyin favor                  .


  ofGvilenl
          feld. However,thejudgrflentwas'later'kaçafed bàsed on a lack ofjurisdi'
                                                                                ction.
  Dùrinjtheeial,severalofGeilenfeldlsaccusers.téstifkd qgainsthim .Asvoted herein,the
  victim swhose abuîeisencorizpassed in the
                                          ''
                                             indicte em ârè lttthe viçiim qwho testified in the
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           danger to the childrçn.Forexam plç,in atleastone insjApce reporte(j$c)uw                              .                                                                                                                  '
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           enfomement,a'ptrson workingwith Geilçnfeld (ddsubjèct1'')pff7ered. avi
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           qm ney in exdhange forthe victim 's Cilence or denialofabtpq.A s'
                                                                           G eilenfeld                                                                                                                                    .




       'àdmitted .
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                 under tlqih in 2022,another close a8sociate (f<subject2''),wh.om
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            Geitenfeld classiheb ashis'iâiend,''jtabbed onëoft'Ndèhildfen,afterwhich
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           stahbitk.Geilenfeld cpntinurd yo dèfenàtheAssociateàn4 keep him atoupd
           Childm n. And G eilenfeld adm itted under qath in 2022 that he atlowed a

           reportedpedq/hileto stay attheorphânyge,despitehgvingbeen alerted tothe
        .  fact.
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                                                 ln àyproxlmate1#2014,Hiitiaqysociatservicesjhutdom ttheSt.
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           Josqfh'sHom eforBoysasafes'
                                     ultofchildwelfarecopcerps.
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                             8.                  Geilenfeld w ys.subsrqtwntly arrqsted and incarcerated in H aiti
                                                                                                                     .                            '

           in connection with abusç allegitionj there. H aitiin authoritièj'.rèleàsed

            Gèikhfeld flpm conM em entin mid-2015. Thoùgh the defepqe m ay po#tray,
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           ihis aj a dismissal/acquittal, U JS..1aW 'qnfomem ent'p investigâtton has                                      .




            der
              teirhihed that the çircumstances .
                                               sprrouqding the'case'j conclusion are
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            uncleér, and thçfe is evidepce of corruption,.includitzg statcG ents m ade by
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            Geitèhild and 'tsubject1''('regar
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                                                  ng Geilenfddbeingableto dtbljbe''people
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            in Haiti,tha,t''V oney talklsl'',etc.).1n any 'event,the kictim j Atisjue in that                                     .




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           PIPCèedingarenotthejam èasthevictimsofthe2006-2010timeperiodblleged
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            in theindidtm ent.

                                                 ln October2915.H aitiissued&ilew ârreqtvarraptforGeilçrifeld'           ''       ... .       ;
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               (No.394),based'on new çpmplaints,thathç sey.uAlly abused'ptherchildren.
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        G eilenfeld leftH aitiand taveled to the D om iniçan Republic before H aitian
        quthorities could apprehend him . In the D om inican kepublic, Geilehfeld
                         . '                               .'                                   .




        established anew ddm ission''(house)to ddhelr w ith the educaéon of...children''
                                        '                           .                       .


        OfSingle mothers,
                        'he ddlived''in the Dom inican Vepublic untilthespring of
        2019 when Dom inican authorities sent him back tt)thè United States.The

        'investigaionhasùncoveredno evidencethatthearrestwarrantwascapcelled,
        dejpite Geilenfeld'ssapso. And hiscontendon thathe hasnotremrned to
             i since 2015 further supports the conclusion that the arreqt F aqant
        H ait'                              .




        rem ainvd in eFect- given how extensivelyhehad taveled thereand spénttim e
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        thereuntilthen.
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               10.         ln M ay 2019,U .S.CBP stopped Gèilenfeld after.he kied to fly

        back to theD om inican Republic.D uringthisstop?theoG cçrfound Qeilepfeld

        hpd approxim ately 11hard copiesofa 3-pagephoto array ofvictim s/w im çsses
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        involved in thesekûal./buseallegations(which theGovernm entbelieveswas
        to aid in tntimidating ànd/orbribing them).Also during this stop in 2019,
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        Geilenfeld told the offker thathe wasbeing expelled from the Domlnican
        Republicapdthathishörpèwasin lowa= bothofwhkh aredx erentlocations
        thanwherehetold Probayionhewajlivingin 2019(i.e.,in Colorado).
               11. ln a:Sçptember2022 deposition,Qçilenfçld stated underoath
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                                    '               :' '
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        thathis intçntis tq ret'
                               urn to the D om inican Republic:C'AIIIof my eflbrts is

        evqryday to getback tt)theD om inican Re
                                               'publicbecausethatisp y weàlth,yhat

        ism y life,thatism y evetything.''

               12.         'Geilçnfeld speaks Creole fluently, and in addition to his



                                                    6
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           extensive ties to H aitiand thç D om inican R epublic, taveled extensikely to
                                             .




           other dount2ries before founding the orphanage
                                                       '.
                                                         s in H aiti.H e also laveled
                                                                           '
               ,



           repeatedlytoHaitibeforeand afterthetimeperiod allegedin theindictment.
                   13.   G eilenfeld doesnothaveanyltnow n presenttieqto tl'
                                                                           lè Southern

           D istictofFlorida.H isflling yesterday contended'thathe wpùld notbeable to
                                 x




           appearfortrialthere,forfm ancialreasons.A nd îfm leascd,he wovld.nçed to
           travel qj
                   cross thè country, exposing him to children,and w ithout adequate
                                                                       '
                                                                                 .       .

           supervision- e.g., sitting beside m inors on a plane/bus, staying in

           hotels/m otels.

                   14.   Geilehfeld hasextensive fihançiylresources.Forexam ple,
                                                                               'over

           thecourse ofdecadeshe ftm draised throùghouttheU nited Statesto keep opeq

           the orphanages,and he received fm ancialassistance f'
                                                               rom ciurdh and 0ther  .




           communittesandindividualsintheUnitedStayçs.From 2020-2022,Geilenfeld
           tansferred tens of thousands of dollard to individuals in the D om inican
                                         .




           Republic aizd Haitt inclttding numefouspaymentsto ddsubjçct2''(i.e.,the
           individualwio stabbed thechildresidentl'
                             .                    , hi
                                                  :  scurrent.landlord,theddyerifier''
           for Probation,w as invplved in sonïe ofthese paym ents.G eileilfeld has also

           retaihedprivatecoùnselin yhiscAsç(andhadprivatecounselesince2010).These
       '
           fm avcialrésourcesw ere notdisclosed to Probation &nd are inconsistentw ith
                                                         '
                                     .

           hissuggestiontoPmbatgnthatheisimpoverished.
                   15.   A sforGeilènfeld'slifein Colorado,hestated underpath in 2022
                                                    a




           thatheddlivelslaveryhidden existence.''ThispastWeekhereportedhisjobsas
           beingaself-em/loyeddogwalkerandlawnmbwer- positionsforwhich noone
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                           supervises him and throuch Fhidi he càn easllykcome into.cont
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                           childrepkThese ére also posi
                                                      tionsrequiying physicpllimesb,apd Siere isho
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                      ..   indicationof&n#healthpzbblems.
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                                                                                         whole stpzy:                  .                                                               .
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                           G eilenfeld did notinléally.knöw thathè had been indiéted on a sexuâlabuàe                                                                                  .
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                           chargç,and onceGeilenfeld learned whatlleWaschqrged.
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                                                                             Geilenfeld hasrepe
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                           purported motw ators /or their reptvts of abuse.But Geilenreld pufpqjdy
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                           sought out children who had these charicterisdcs, an'
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                           approxiw ately20difirentindividuâlshqvercportedbping'selually ahtped'b# .                                                                                                                                   ,




                           Geiknfeldovertheyears.
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                           Geilenfeld'scounsètpm fe'
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                                                                                       had dedicatedhislife                                                                    '
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  in Colqradosilwe2019.Seezenerally'lEcTM
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    The jovernmentlaterprogered,11::msponse to a qutstipn by the magistratejpdge,that
  Geilenfeldhadnotonlyabusedchgbren1.   ,'
                                         ,Haid.butthâttwoitldividpalshxddirèctlympprted
  to1aw enfprdetnei,tthateeiienrçldhad'sçxuallyabùkedthtm when theywçre'èhitdrenin the
  United States,ahdthattheahuseoccurredin ahbvseqnd iiîahotelropm .Stè(BCy,x n.j4
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      '           .                 .                                '           .                                                      '                        .                                                       . '                   ..                       .
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  Af3).                                                     .                        :
  6Geilenfçldis'71yearsoldk                                      '
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  ReleaseonPersonalRecor izance''DocL8).Notably,GeilenfelddidnotsubmittotheCourt
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  thathehad any t'iesto theSouthern D istric'tofFlorida. Geileqfçld'scounselalso erroneously

  advijed thecourtthata pahdjuryin North Carolihaissued anobitlafterbeing presented
  with an indictm entagainstG eilenfeld. See,'#.at2. Atthe conclusion ofthe hearing,the

  magislate judge advised thathe was taking the decision underadvisement and ordered
                                 .
                                        '



  probadon to do an inspecdon ofGeilenfeld'shom e.

        Thereafter,on February 1,2024,themagistrltejudgeresumed thedetention hearing
  forafm altim v.(ECF N o.15).Atthehearing,thecourtdeniedthegovernm ènt'sm otion for
  prelialdeteqtion,and ordered Geilehfeld to reside ata halfway hoyse on home detentipn

  with a GPS anlde monitor.          In dqing so,the pagistatejudge found thatthe home
  G eilenfeld had resided in priorto his arrestw asnota suitable place forhim to reside while

  on bond becauseofGeiknfeld'saccçssto childwn. Thejovernmentnow appealsbecakse
  themagiskatejudgeelw neously concluded thatGeilenfeld wasneithera risk offlightora
                                       '                                                      .



  danger to the com m unity,and that the governm ent failed to prove thatno condition or

  com bination ofcondiéonsw' ould reas';onably assure G eilenfeld'sappearance asrequired and
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  the safèty ofany otherperson and the com m unity.

   H.   LEGM     STA N D ARD

        U pon m otion by the governm ent,a distictcourtispermitted to review a m agiskate

  judgç'sreleaseordvr. See18U .S.C.j3145(a)(1). Thedistictcourtmustco.
                                                                     ndpctadenovo
  review oftherelease decision. See United Statesv.Hurtado,779 F.2d 1467,1481(111 Cir.
  1985);UpiledStatesv.Niles,874 F.Supp.1372,.1374 (N.D .Ga.1994)(citing Vnited Statesv.
  K ing, 849 F.2d 485,490 (11th Cir.1988:.Review by the district court contem plates an
  ddindependentconsideradon ofallfactsproperly befpre it.'' United Statesv.Gavin'
                                                                                a,828 F.2d
Case 1:24-cr-20008-KMW Document 6 Entered on FLSD Docket 02/07/2024 Page 10 of 16


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             667,670(1.
                      1thCir.1987)(citingHurtado,)7-9. F.2dat148
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             çourtcondudesthatthe m&gistrétejudgë correctly applied thelaw,fûlylhe courtmay then
             explicitlyadoptthe,magi7traselsprectrial(releasèjorder.''King,849F.2d.at490.However,if
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                       totheresoludon ofan essent/ l'issùeoffaet,tlw district.
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             a danger'to the com m unity by clear and cim vincing evidence or .a flight'risk by,a        '.
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             cpm m ui ty when a defendant has been indicted for cettain crim es.''. United States 1z.                                                                                                                                                                           ,

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             Quartermatne,913F.2d.û1
                                   .0,915 (11th.C9.1990).((A mandjuryindictmènyproWdesthe
             probgbleçapserequired by thestatùte to triggerthe prpsumptioh.'' Id.at91*
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             statutèlybpresumption (is)raised,athe defehdantcafries the burden ofproductipn to com e
             forwàrdsgwith evidepce to'mbut(it1.'''f#. dflfthebefendantfailstt
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             stgm torypresumptipn (i.e.,ihetisk offlightordangçrtp tliècommunity),pretrialdetention

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                                    /u/p v.Rivem ,90 F.Supp.2d.1338,1342 (S.
             iswarréqted.'' United s'                                      D .Fla.20t)0),af d,273
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             17,3d 397 (11th Cir.2001):,t,
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             rebut the statutory presum ption,the presùmptièn drep ains in the çase as ap evidentiary
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Case 1:24-cr-20008-KMW Document 6 Entered on FLSD Docket 02/07/2024 Page 11 of 16




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              1seèJ'tion 3142.(g
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     F.2d at488).
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     defepdapt,sappearance as#equired anj dafçfy ofthe,.co> m unity,the courtom ust coyysjtsy                                                         .                                                                                     .



     seyeralfactors,including the,ilatw e and circtlm stançesofthe offense chatgèd;thew çightt?f                                                                                               .




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     defèhdant'srelease. 18U.S.
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     Y . ARGUMENT                 .       .       '
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     both a'risk offligahtan'
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                                        'U.j242311$,trikgeringtùerebùttablepresùmptipn
     thathèbedetained. eqj 3142(e)(3)(E). Thus,'deilenfelk had theburden ofproducing
     evidenèeto rçblp thepresumpuon.'l-lere,therdqord dem onsta testhatGeilee eld fjiled to                                               .


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         arance.based onhistaçk oféesto theSouthel'n D iseictofFlorida,the signï cantprison             .




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Case 1:24-cr-20008-KMW Document 6 Entered on FLSD Docket 02/07/2024 Page 12 of 16




     magi'eatejudgef'
                    agedtoconsideroeuenrelk'slackpruestotlus(/,'
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                                                                   cf,andtherecorddoes
     notsupport& finding thatGeilenfeld has any ties to thisdistict. d'Tiesto the com m unitytij

     one ofthe indida thatcourtslook to in èvaluating the flightrisk ofa defendant.'' Rivera,90
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     F.Supp.2d.at1343(citing18U .S.C.j3142(g)'(3)(A)).ddrjnherelevantcqmm unityis,(lfcoursej
     the com m unity in which the defepdantfacesprojecution.''Rivera,90 F.Supp.2d at1343.

            Hçre,GeiknfddpnlyproFeredfactsto establish histiestocomrpunltiesotherthan
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     the Sotètlzern DistrictofFtorida. Forekampleiin hisinitialmotion forbond,Geilenfeld

     asserted.tiat'dhe has insuK cientftm ds to defend in Florida''and requested the case be
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     tranjfep'
             ed ttlColorado.(ECF NO 8 at4). M orepver,in hissubseqtlentflling and atthe
     detentiop hearings,he proFered thathe hasresided in Colorado since 2019 and provided the
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     coprt* :1,
              1chayactermferepcesfrom individualsresiding in Colorado. See(ECF.No.13 at
     IV.M .
          r.Geilenfeld'sResidencein ColoradoandTiestotheCommunitylo'H8alàopotedthat
     he had a brotheri
                     <n Iowa. Id. H owever,as tö tltis dis'
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                                                       .  trict-c-the only dislictrelevantto the

     analysis- Geilenfeld did not proFer that he ow ned property hereiregularly visited,hàd

     friendsiorfam ily here,orpw videàny inform ation thatdem phslatesthathehaseven m inim al

     éesto.thisdistict.SeealsoUnitcdStates1z.RodnkuqzqNo.11-02454-M J,2011W L 1467221,at
     *2 (S.D.Fla.Apr.18,1011)(notingtliatthedefendantsdidnotpresent'devidenceofasingle
     m lativçorbusinessinterest:1theSogthern D istlic.tofFlorida''and fm ding thattheird'tiesto
                                .




     Orlando doposservetombutthepresumption thattheyareflightrisksfrom thi,district'').
            Likewise,Geilenfeld hAssipziscanttiesto both theDominicah kepublic and H:iti
     and haspreviously attem pted to evade H aitian 1a:
                                                      F enfolcem ent. Speciscally,priorto being

     indictedxGeilenfeld'spentdecades abroatlin H aid (and becam e fluentin Creole).Tn 2014,
     H àidan authorities arrested the D efendant apd conhscated the D efehdant's pâssportafter
Case 1:24-cr-20008-KMW Document 6 Entered on FLSD Docket 02/07/2024 Page 13 of 16



   receiving com plaintsthatthe D efendantsexually abused children.A second arrestwarrant

   issued in 2015. Ratherthan rem ain in H aid to face furtherproceedings,the D efendantfled

   to theDominican Republicin 2015and hasnotreturned to Haitisince.See,e.
                                                                        g.,(ECF No.
   14-3 - M andatD 'Amençr (ArrestW arrant)N o.394 (Oct.29,2015)(showing Geilenfeld
   beingsoughtforrapeandsexuqlassault);(ECF N o.14-4 -Customs& Border.patolFlight
   Recordsshowing G eilepfeld'sflight.
                                     soutoftheD om inican RepublictotheUnited Statesand

   back beginningin 2015,whereishisflightsforthefourteen yearsbefore2015had been outof

   andbackintoHaiti);(ECF No.14-5- CertifcatdeGreFe(June2,2017)w1:11accompanying
   reportstatingthatArrestW arrantN o.394wasstillin efrectin June2017);seealso(ECF No.
   14-2,Tr.of Deposition of Geilerlfeld 94:20-95:25 (Sept.14,2022) stating that after he
   surrendered hispassportto the H aitian courtin connection w ith hisabuse chargesthere,he

   gota new passport,took a busto the D om inican Republic,and flew outofthe D om inican

   Republicratherthan tryingtoflyoutofHaitil.?
          G eilenfeld hasalso stated underoath asrecently asSeptember2022 thathew antsto

   ret'urn to the Dom inican Republic:d'allofmy eflbrt.
                                                      sis (sic)evelyday to getback to the
   D om inican R epublic because thatis m y w ealth,thatis m y life,that is m y everything.''See

   (ECF No.14-2 - Tr.ofDeposition ofGeilenfeld 45:15-19 (Sept.14,2022)). Geilenfeld's



   1The G overnm ent has received a subsequent Certé cat de GreFe,dated April 16,2018,
   indicating that A rrest W arrant N o. 394 w as suspended on N ovem ber 16,2015. O ther
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   docum entsthatthe Govem menthasobtained (and which itisin the processofobtaining
   approvz to'disclose),however,indicàtethatGeilenfeld wasstillsubjectto aHaitian arrest
   w arrant,and the G overnm entdoesnqtbelieve ithas everreceived a copy ofthe referenced
   ddsuspension'' order am ong the volum inous set of French-, Creoler, and other-language
   docum entsithas received.M oreover,G eilenfeld's travelpattern- as reflected in his flight
   recordsand in his statem entto this Courtthathe hasnottaveled to H aid since 2015,see D ef.
   M ot.ForRelease& ChangeofVenue,para.10(ECF N o.O- reinforcethathewasfleeing
   justicein Haiti.

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          tkfendantisan inceùtiveto.considerflight.''),
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          (S,D.FIà.1995)(d'ThelengthysentèpççpresumptivelyptpvidesEthedefendant)withastioiflg
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          ilweptjvetoflee.'').H.efe,kiolétionsofI8.U .S.C.j24131)arespunishAblebyvfio.30yeAp'                  '                                     -                   '                                             .                                                . . '                                                   '
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                            by a preponderance qftheevidencèthatGeikhfeld is,arisk offlightaùd
          rècovd estyblishes'                                                                 .




          thatno,condltion or combilwtiqn ofccmditionswillreqsonably assure his Appearapce as
          required.

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                                  Furtherm om ,therecord copdusively dem onslatesby clearand convincing evidence
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          thatGeiknfeld isa dasgeyto the com m unitv and anotherpersou. Geilehfeld'scrim erisqne
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          whèiherit.involvesamhpr,victim,aja7factqrtobe.coùgideted inbopd,detèrrhinatipns).As
    Case 1:24-cr-20008-KMW Document 6 Entered on FLSD Docket 02/07/2024 Page 15 of 16


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       proffered by the governm ent,thenature and circum stancesofthe instantoFense charged in

       theindictm entinvolve Geilçnfeld sexqally assaulting atIeastfourm inorm ales* ho hadbeen

       en% sted to lziscare.

             M oreover,the victim s and wim essesw ith whom the investigative/prosecution team

       hasspoken havedisclosed being O eatened andbribed to,atbest,m aintain theirsilenceand,

       atworst,recanttheirreports ofabuse.The victim s'/wim esses'fears ofretaligdon are well-

       founded,c'
                onsidering,am ong otierthings,thatoneofGeilenfeld'ssclojeassociates('dsubject
       2'')stabbed oneofthechildresidents,thàttheDefendanthascontinued toplaceSubject2 in
       aposition ofpoweroverchildren athisDominican ddmission''and continuedto send Subjed
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       2 m oney w hiletheD efendantresided   Colorado,and thatU .S.Custom sand BorderPatrol

       found the D qfendantin possession of11 hard copiesofa photo array ofvictim s/w im esses
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       associated with the abuseallegaéonswhen hew ast'urhed away from the D om iqican border

       in 2019.

             Sta#ing ata halY ay house (or any otherlocation shortofa government-opçratèd
       detention facility)isinsuG cientto reasonably assure Geilenfeld willnotthreaten,bribe,or
       otherwise'unduly influence the victim sand witnessesin thiscabe,orharp otherchl
                                                                                     'ldren.

             A ccordingly,becauje the governm'enthasdem onskated thattheD efendantisboth a

       risk of flight and a danger to the com m unity,and that no condiéon or com bination of

       condiéons w'
                  itlreasonably assure his appearançe as required and the safety of any other

       person àndthecom munity,thisCourtshouldrevokethem agiskatçjudge'sorderpursuantto
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       18U .S.C.j31.
                   45(a)(1),andorderthattheDqfendéntbedetéinedpendinptrial.
                                                  Respectfully.subm itted,

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                                                  Child Explùitatiop and Obscepil Section
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                                                  W ashington,DC 20005
                                                  Telephbne:202-305-1698
                                                  E-mail:Jessica.uiban@usdtj.gov.
                                                  Binail:Eduardo.patomoz@'usdoj.gov
                                                  Xttorney
                                                         'sforGovernment
